                  Case 1:24-mj-00498-WEF Document 12 Filed 12/17/24 Page 1 of 1 PageID# 27

AO 442 (Rev. 11/11) Arrest Warrant


                                                                                                            FILED
                                          United States District Couri
                                                                      for the

                                                          Eastern District of Virginia       Q
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                                                                                                     '7'!        i 1
                      United States of America
                                 V.                                     )
         Abdullah Ezzeldin Taha Mohamed Hassan                          )         Case No. 1:24-mj-498
                                                                        )
                                                                        )
                                                                        )
                                                                        )
                             Defendant

                                                         ARREST WARRANT

To:        Any authorized law enforcement officer

          YOU ARE COMMANDED to arrest and bring before a United States magistrate judge without unnecessaiy delay
(name ofperson to be arrested)        Abdullah Ezzeldln Taha Mohamed Hassan                                                                   ,
who is accused of an offense or violation based on the following document filed with the court:


□ Indictment               □ Superseding Indictment            □ Information         □ Superseding Information                 Complaint
□ Probation Violation Petition                 □ Supervised Release Violation Petition         □ Violation Notice          □ Order of the Court

        18 U.S.C. § 842(p)(2)(A) (distribution of information relating to explosives, destructive devices, and weapons of mass
      destruction in furtherance of the commission of a federal crime of violence, that is 18 U.S.C. §§ 1116(a), 1116(b)(4)(B),
        1111 (first-degree murder of internationally protected persons))




Date: December 16,2024 at 5:00 pm


City and state:         Alexandria, Virginia                                    Hon. William E. Fitzpatrick, United States Magistrate Judge
                                                                                                  Printed name and title



                                                                      Return


           This warrai^vas received on (date)          \2/i-y'zo'tH         , and the person was arrested on (date)        \ 1/ nlzo^H
at (city and state)      PalU

Date:       \21 n/ lO'l'd
                                                                                               Arresting officer's signature



                                                                                                  Printed name and title
